  Case 19-05945      Doc 42    Filed 03/23/20 Entered 03/25/20 08:36:25             Desc Main
                                 Document      Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                      )               BK No.:     19-05945
Terrell D. Thomas                           )
Annette L. Thomas                           )               Chapter: 13
                                            )
                                                            Honorable David D. Cleary
                                            )
                                            )
               Debtor(s)                    )

          ORDER AUTHORIZING AND/OR ALLOWING A LOAN MODIFICATION

       THIS CAUSE coming to be heard on the motion of U.S. Bank National Association, as Trustee,
successor in interest to Bank of America, National Association, as Trustee, successor by merger to
LaSalle Bank National Association, as Trustee for Merrill Lynch Mortgage Investors Trust, Mortgage
Loan Asset-Backed Certificates, Series 2006-FF1, a secured creditor herein, for entry of an order
authorizing and/or allowing a loan modification, between the Creditor and the Debtor(s), the Court
having jurisdiction over the subject matter and due notice having been given, and the parties having
reached an agreement:



WHEREFORE, IT IS HEREBY ORDERED:

(1) As described in the motion, the loan modification between U.S. Bank National Association, as
Trustee, successor in interest to Bank of America, National Association, as Trustee, successor by
merger to LaSalle Bank National Association, as Trustee for Merrill Lynch Mortgage Investors Trust,
Mortgage Loan Asset-Backed Certificates, Series 2006-FF1 and Debtor(s) with respect to the property
commonly known as 21206 Alessandra Drive, Matteson, IL 60443 is hereby allowed.



(2) No further payments are to be disbursed to U.S. Bank National Association, as Trustee, successor in
interest to Bank of America, National Association, as Trustee, successor by merger to LaSalle Bank
National Association, as Trustee for Merrill Lynch Mortgage Investors Trust, Mortgage Loan Asset-
Backed Certificates, Series 2006-FF1 on its secured claim.

                                                         Enter:


                                                                  Honorable David D. Cleary
Dated: March 23, 2020                                             United States Bankruptcy Judge

 Prepared by:
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